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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

 Case No. SACV 19-00516-JLS (DFM)                                   Date: June 5, 2019
 Title: TCP Investments, LLC v. Creative Outdoor Distributors USA, Inc.

 Present: HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

          Terry Guerrero                                                N/A
          Deputy Clerk                                              Court Reporter

   Attorneys Present for Plaintiff:                          Attorneys Present for Defendant:

            Not Present                                                Not Present

 Proceedings:          (In Chambers) SCHEDULING ORDER

     On the Court’s own motion, the Scheduling Conference set for hearing June 7, 2019, is
 VACATED and the following schedule is set.

        Counsel’s attention is directed to the Court’s Civil Trial Order filed concurrently with
 this Minute Order. Generally, motions should, at the time of filing, be noticed for hearing on the
 Court’s first available motions hearing date. (See <<http://www.cacd.uscourts.gov/honorable-
 josephine-l-staton>> for closed civil motions hearing dates; see also Local Rules 7-9 & -10
 (deadlines for opposition and reply briefs).)

         To conform with the Court’s presumptive schedule, the schedule set forth below may
 have been adjusted from that proposed by the parties. (See Order Setting Scheduling Conference
 at 2.) These dates and deadlines will not be continued except upon a showing of good cause,
 which generally requires unforeseeable circumstances. See Fed. R. Civ. P. 16(b)(4). Failure to
 conduct discovery diligently or a desire to engage in settlement discussions will not constitute
 good cause.

         The Court will set a trial date and an exhibit conference date at the Final Pretrial
 Conference. The parties are directed to confer before the Final Pretrial Conference and to
 identify in the Proposed Final Pretrial Conference Order mutually agreeable trial dates within the
 90 days following the Final Pretrial Conference. Where the Court’s trial calendar permits, the
 Court will set the trial for a date agreed upon by the parties.

 Last Day to File a Motion to Add Parties and Amend Pleadings:              August 6, 2019

 Fact Discovery Cut-off:                                                    October 25, 2019

 Last Day to File Motions (excluding Daubert Motions
 ______________________________________________________________________________
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  __________________________________________________________________
                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES – GENERAL

 Case No. SACV 19-00516-JLS (DFM)                                   Date: June 5, 2019
 Title: TCP Investments, LLC v. Creative Outdoor Distributors USA, Inc.
 and all other Motions in Limine):                                                            November 8, 2019

 Last Day to Serve Initial Expert Reports:                                                    November 8, 2019

 Last Day to Serve Rebuttal Expert Reports:                                                   December 6, 2019

 Last Day to Conduct Settlement Proceedings:                                                  December 20, 2019

 Expert Discovery Cut-off:                                                                    January 3, 2020

 Last Day to File Daubert Motions:                                                            January 10, 2020

 Last Day to File Motions in Limine (excluding Daubert motions):                              January 31, 2020

 Final Pretrial Conference (10:30 a.m.):                                                      February 28, 2020

 Preliminary Trial Estimate: 1                                                                4 days

                                                                                Initials of Preparer: tg




 1
     This is the parties’ estimate. The Court may allot fewer days for trial.
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